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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


AMANDA CIMILLO,

                  Plaintiff,

v.                                             CASE NO. 4:16cv584-RH/CAS

ROLLIN AUSTIN et al.,

          Defendants.
______________________________________/


                            ORDER DENYING THE DEPARTMENT’S
                              SUMMARY-JUDGMENT MOTION


         This case presents the question whether it violates the Americans with

Disabilities Act and Rehabilitation Act of 1973 to gas a prisoner who, partly

because of a disability, cannot safely be gassed.

         Employees of the Florida Department of Corrections repeatedly gassed a 27-

year-old prisoner who had complained of breathing difficulties for three days.

Several hours later the prisoner was dead. The officers say the prisoner was being

disruptive, but other witnesses have sworn the prisoner was not being disruptive at

all—that he was sprayed for no reason.




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         The personal representative of the prisoner’s estate asserts claims against the

Department of Corrections, against individual officers who were involved with the

gassing, and against nurses who responded to the breathing complaints and cleared

the prisoner for gassing. A summary-judgment hearing addressed five separate

summary-judgment motions—one by the Department, one by individual officers

involved with the gassing, and three by individual nurses. This order addresses the

Department’s motion. Separate rulings will be entered on the other motions.

         On a summary-judgment motion, disputes in the evidence must be resolved,

and all reasonable inferences from the evidence must be drawn, in favor of the

nonmoving party. The moving party must show that, when the facts are so viewed,

the moving party “is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A summary-judgment

motion cannot be used to resolve in the moving party’s favor a “genuine dispute as

to any material fact.” Fed. R. Civ. P. 56(a).

         The personal representative asserts claims against the Department only

under the ADA and Rehabilitation Act. As relevant to the current motion, the

standards under each act are the same. For ease of reference, this order often refers

only to the ADA, without mentioning the identical standards under the

Rehabilitation Act.




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          The ADA provides that a “qualified individual with a disability” must not,

“by reason of such disability,” be excluded from participating in or be denied the

benefits of a public entity’s activities, “or be subjected to discrimination” by a

public entity. The prisoner was a qualified individual, which for a prisoner means

only the ability to be a prisoner and to participate in whatever prison activity might

be at issue. The Department of Corrections is a public entity. Gassing an individual

who, because of a disability, cannot safely be gassed—who, because of a

disability, might die if gassed—is discrimination within the meaning of the statute.

And a person who is killed loses the ability to participate in activities.

         A person has a disability if, among other things, the person has an

impairment “that substantially limits one or more major life activities.” 42 U.S.C.

§ 12102(1)(A).

         As Department employees knew, this prisoner had Osler-Weber-Rendu

syndrome. The syndrome is characterized by abnormal blood vessels, not only

internally but visibly on the lips, tongue, ears, and fingers. When visible, the

abnormalities are referred to as telangiectasias. The prisoner had visible

telangiectasias. Other symptoms of the syndrome include shortness of breath,

enlarged liver, heart failure, anemia, bleeding in the gastrointestinal tract, seizures,

and small strokes from bleeding in the brain. ECF No. 204-6 at 1. The autopsy

showed that the prisoner had several of these symptoms, including an enlarged



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heart and liver. This record is not well developed on what this prisoner’s

limitations were, but the record would support a finding that the prisoner had a

disability. See Lapier v. Prince Georges Cty., Md., No. 10-CV-251 AW, 2013 WL

497971 (D. Md. 2013) (concluding that Osler-Weber-Rendu syndrome is a

disability and that it prevented the plaintiff from performing the essential functions

of the job of police officer).

         In asserting the contrary, the Department emphasizes activities the plaintiff

participated in. He played basketball and did other things. When he suffered cuts,

he bled almost uncontrollably, but play basketball he did. Still, the Department’s

argument stands the ADA on its head. The founding premise of the ADA is that

persons with disabilities also have abilities—that they can do many things despite

their disabilities. A person who bleeds uncontrollably may be substantially limited

but still can do many things, including, if he chooses, play basketball. So also a

person with breathing difficulties and an enlarged heart and liver. Indeed, there

was a time when the world’s best basketball player was a person with a disability.

         The Department asserts that the prisoner died from natural causes wholly

unrelated to the gassing. It is possible, of course, that the 27-year-old prisoner had

no disability and that he nonetheless died from natural causes. But a jury might

conclude that the abscesses on which the medical examiner blamed the death arose

partly from Osler-Weber-Rendu syndrome and that the gassing contributed to the



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outcome. In any event, a jury could conclude that the prisoner was substantially

limited in major life activities, just as the court concluded in Lapier.

         The Department also says the correctional officers who did the gassing did

not know the prisoner had Osler-Weber-Rendu syndrome. But under the ADA,

unlike under 42 U.S.C. § 1983, an entity can be held liable under ordinary

principles of respondeat superior. The Department is responsible for acts of its

employees within the scope of their employment. It is undisputed that Department

medical employees knew of this prisoner’s condition. And Department medical

employees said the prisoner could be gassed. On this record a jury could find that

the prisoner had a disability that made it unsafe to gas him, that the Department

knew it, and that the Department nonetheless gassed him.

         For these reasons,

         IT IS ORDERED:

         The Department’s summary-judgment motion, ECF No. 180, is denied.

         SO ORDERED on August 10, 2018.

                                        s/Robert L. Hinkle
                                        United States District Judge




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